        Case 6:21-cv-00511-ADA Document 213 Filed 06/01/21 Page 1 of 6




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               WACO DIVISION


FRESHUB, INC., FRESHUB, LTD.,  §
              Plaintiffs       §
                               §                        6-21-CV-00511-ADA
-vs-                           §
                               §
AMAZON.COM INC., PRIME NOW, §
LLC, WHOLE FOODS MARKET INC., §
WHOLE FOODS MARKET SERVICES, §
INC., AMAZON.COM SERVICES LLC,
            Defendants



                            NOTICE OF TRIAL PROCEDURES

       In anticipation of trial starting on June 14, 2021, the Court notifies the parties of the
following trial procedures, which the Court employs to maximize safety and social distancing
during trial:

   •   Jury Selection will begin at 9:00 am, June 10, 2021 in the United States District Court,
       800 Franklin, Waco, Texas 76701.

   •   In its jury summons, the Court informed prospective jurors that (1) jury selection will be
       conducted in the district courtroom, which is large enough to accommodate this jury
       panel with recommended social distancing; (2) if selected, jurors will be distanced more
       than six feet apart at all times; (3) all rooms will be cleaned and disinfected before their
       arrival, and hand sanitizer will be available; (4) bathroom breaks will be lengthened to
       ensure physical distancing; and (5) no one should report for duty if they feel ill, have any
       flu-like symptoms, are experiencing shortness of breath, have a fever, are coughing or
       sneezing, have been asked to self-quarantine by any hospital or health agency, or have
       had close contact with anyone who has been diagnosed with COVID-19. The Court has
       excused jurors who sought to be excused based on COVID-19-related concerns.

   •   Before entering the building, the Court expects to take panel members’ temperatures, and
       anyone with a fever will be excused from service.

   •   The Court will provide the parties an opportunity to do a general and individual voir dire
       at the Court’s discretion. The Court will provide the parties with a diagram of the room
       that identifies the jurors and their seat assignments.
        Case 6:21-cv-00511-ADA Document 213 Filed 06/01/21 Page 2 of 6




  •   If necessary, the Court, counsel, and the court reporter may step out of the room to
      conduct any bench conferences and resolve any motions to strike.

  •   After seven jurors are selected, the Court will dismiss the remaining panel members from
      service in this case.

  •   To eliminate the need to leave the building to eat lunch, the Court will enter a jury-
      sequestration order and will provide the jurors’ lunch. The jurors will be able to maintain
      social distancing during 1unch.

  •   The parties shall jointly provide notebooks to the jurors on the first day of trial before the
      trial starts. The notebooks shall be provided to a Court staff, who will deliver the
      notebooks to the jurors.

  • During trial, the jurors will sit in the jury box at least six feet from one another. The
      parties will sit facing the gallery. Witnesses will testify from the witness stand enclosed
      in a plexiglass barrier. Face covering is optional for all individuals in the courtroom
      during trial.

  •   Although seating will remain available to the public in the courtroom, an audio feed will
      be made available to public.


                             COVID -19 SAFETY PROTOCOL

       In order to provide a safe environment for all parties and other trial participants,
the Court has approved the following COVID-19 safety protocol.

      1.      Safety Procedures Applicable to All Individuals Who Enter the
              Courthouse

       All individuals who enter the Courthouse shall be expected to adhere to CDC
guidelines for Covid-19.

              (A) Pre-Entry Health Assessments

                      a. Temperature Checks

       Consistent with existing protocols, the Courthouse personnel will perform a
temperature check on all individuals entering the Courthouse through no-contact thermal
imaging. Any person exhibiting a temperature greater than 100.4o will not allowed in the
building.

                      b. COVID-19 Safety Questionnaire

      Self-assessment health signage is already posted conspicuously around the
Courthouse. Such signs direct any person who fails the self-assessment not to enter the

                                                2
        Case 6:21-cv-00511-ADA Document 213 Filed 06/01/21 Page 3 of 6




building. In addition, any individual who answers “yes” to any of the following questions
shall inform the Court’s personnel before entering the Courthouse:

            •   In the last three weeks, have you been diagnosed with COVID-19?

            •   Are you currently experiencing new or worsening signs of any of the
                following symptoms not otherwise attributable to a condition other than
                COVID-19 (such as pregnancy, dehydration, rigorous exercise, etc.):
                difficulty breathing or shortness of breath; loss of the sense of taste or
                smell; gastrointestinal discomfort including vomiting or diarrhea; fever;
                cough; fatigue; headache; or muscle or body aches; or runny nose?

            •   In the last two weeks, have you been in close contact with someone who
                was diagnosed with COVID-19 or whom you believe likely has COVID-
                19? You have been in close contact if you have (a) been within 6 feet of
                someone who has COVID-19 for a combined total of 15 minutes or more
                over a 24-hour period or (b) provided care at home to someone who is
                sick with COVID-19 or (c) had direct physical contact (e.g., hugged or
                kissed) with someone who has COVID-19 or (d) shared eating or drinking
                utensils with someone who has COVID-19 or (e) been sneezed on or
                coughed on by someone who has COVID-19.

                (B) Social Distancing

        All individuals who enter the Courthouse are instructed to adhere to social
distancing requirements, including keeping an at least 6-feet of distance from other
participants and limiting Courthouse elevator occupancy to a maximum of 2 riders at a
time.

       2.       Additional Safety Procedures

                (A) Procedures for Jury Assembly Room and Jury Deliberation Room

        Additional precautions are to be taken in rooms used by the jury during assembly,
breaks, and deliberations, on days when such rooms are occupied:

            •   Availability of hand sanitizer containing at least 60% alcohol by volume; and

            •   Daily surface cleanings with appropriate disinfectants with activity against
                COVID-19.

                (B) Procedures In the Courtroom

        Additional precautions are to be taken in the Courtroom each day of trial:

            •   Use of plexi-glass or other similar protective barrier around the witness
                stand, as already erected by the Court and used in prior trials;


                                               3
         Case 6:21-cv-00511-ADA Document 213 Filed 06/01/21 Page 4 of 6




            •   Appropriate distancing between counsel’s tables, the lectern, the jury box,
                and the Court;

            •   Availability of hand sanitizer containing at least 60% alcohol by volume;

            •   Disinfectant cleaning of the witness box and witness microphone at the
                conclusion of each witness’s testimony performed by party-affiliated staff
                with appropriate disinfectants with activity against COVID-19;

            •   Daily surface cleanings; and

            •   Limit on the number of individuals inside the Courtroom at any particular
                time as follows:

                    o Maximum of 12 party-affiliated trial participants per party
                      including corporate representatives and technical personnel, but
                      not including any witness presently testifying; and

                    o Maximum of 7 jurors during trial after jury selection, and a
                      maximum of 20 potential jurors or jurors during voir dire and
                      instructions.

       3.       Live Feed of Trial Proceedings

                (A) Video Access for Party-Affiliated Individuals

         In order to minimize the number of party-affiliated individuals that will be in the
Courthouse on any given day and to accommodate any witness that will testify remotely by
video but would otherwise be permitted to observe trial, a live video feed of the trial proceedings
will be arranged. The parties will work with the Court IT staff to arrange such a stream using the
Court’s Zoom platform, and individuals or groups of individuals that access the stream will be
required to login using a designated link. This live feed may be accessed by the following party-
affiliated individuals outside of the Courthouse:

   •   The parties’ outside counsel, staff, and consultants;

   •   Party in-house counsel disclosed under the Protective Order;

   •   Witnesses on either party’s witness list to the extent permitted under the Protective Order
       and Pre-trial Order. A fact witness (other than a designated corporate representative) may
       not observe the testimony of other witnesses until after that witness has completed his/her
       testimony and been excused by the Court. Expert witnesses and corporate representatives
       may observe the testimony of other witnesses before they testify—although corporate
       representatives may be precluded from observing certain sealed testimony because of
       confidentiality reasons.

                (B) Audio Access for the Public


                                                 4
         Case 6:21-cv-00511-ADA Document 213 Filed 06/01/21 Page 5 of 6




       The public is permitted to listen to the trial proceedings by telephone. Any individuals
who are interested in observing the trial by telephone shall contact the Court’s Courtroom
Deputy for access information. The public is not permitted to observe the trial via video
streaming. Recording of the proceedings in any way is not permitted.

               (C) Remote Participants

        Virtual trial participants and observers should silence electronic devices other than the
devices necessary to their remote participation, close unnecessary computer programs or
applications (such as email or calendar notifications), and take steps to remove or minimize
anything in their remote workspace that might distract from the integrity of the proceedings.
Participants and observers who will not be testifying or presenting matters during the
proceedings shall mute their microphones and deactivate their cameras. Participants and
observers using multiple devices in a single workspace to access the trial should avoid audio
feedback issues by using the microphone and speakers on only one device at a time, or by using
headphones.

        The Court asks all remote participants to do their best to maintain professionalism in
order to conduct a fair and efficient trial. Anyone appearing virtually shall dress in the same
manner as they would if they physically appeared in the courtroom. If party members, member
of the press, or members of the public become disruptive, the Court may further restrict who is
able to view the trial. Remote trial participants and observers should conduct themselves in the
same way they would if they were physically present in the courtroom.

       4.      Bench Conferences

        There will not be bench conferences in the presence of the jury during trial.

       5.      Exhibits

         The use of electronic exhibits for any exhibit displayed and/or given to the jury
 unless providing or displaying an exhibit electronically is impractical or restricted under
 the protective order. For the sake of clarity, any witness, counsel, staff, and the Court
 may each have his or her own set of physical exhibits. However, physical exhibits will
 not be passed to the jury absent approval by the Court.

       6.      Lunch for Jurors

         At the Court’s expense, lunch be brought in for all jurors daily in individual boxes
 or containers with disposable utensils to avoid unnecessary exposure to those outside the
 Courthouse during lunchtime. Jurors be instructed to increase social distancing beyond 6
 feet during eating periods.

       7.      Costs

        Costs for the above that are not borne by the Court will be borne by the parties in
 equal amounts.


                                                 5
       Case 6:21-cv-00511-ADA Document 213 Filed 06/01/21 Page 6 of 6




IT IS SO ORDERED.

SIGNED this 1st day of June, 2021.




                                     ALAN D ALBRIGHT
                                     UNITED STATES DISTRICT JUDGE




                                         6
